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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



ALAN MEIZLIK
                                                   Civil Action No. 2:18-CV-4084-GAM
                      Plaintiff,

       v.

SOUTHWEST AIRLINES, INC.;
BOEING COMPANY;
BOEING COMMERCIAL AIRPLANES;
CFM INTERNATIONAL, INC.;
GE AVIATION, LLC; and
SAFRAN USA, INC.

                      Defendants.


                       NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff dismisses this action

with prejudice.

                                                    MESSA & ASSOCIATES, P.C.


                                                    /s/ Thomas N. Sweeney
                                                    Thomas N. Sweeney
                                                    123 South 22nd Street
                                                    Philadelphia, PA 19103
                                                    Counsel for Plaintiff
